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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

VERONICA YVETTE ORRANTIA,                         §
Reg. No. 28242-051,                               §
      Movant,                                     §
                                                  §           EP-20-CV-236-DCG
v.                                                §           EP-19-CR-2181-DCG-2
                                                  §
UNITED STATES OF AMERICA,                         §
     Respondent.                                  §

                          MEMORANDUM OPINION AND ORDER

       Veronica Yvette Orrantia challenges her sentence through a motion under 28 U.S.C. §

2255. Mot. to Vacate, ECF No. 77.1 Because it plainly appears from her motion and the record

that she is not entitled to relief, the Court will deny her motion. 28 U.S.C. foll. § 2255 Rule 4(b).

The Court will additionally deny her a certificate of appealability.

                      BACKGROUND AND PROCEDURAL HISTORY

       On June 12, 2019, Orrantia and a co-defendant, Leah Ann Pedraza, applied for entry into

the United States from Mexico through the Paso del Norte Port of Entry in El Paso, Texas. Plea

Agreement 9, ECF No. 43. Orrantia was referred for a secondary inspection based on a

computer-generated alert. Id. The subsequent inspection revealed Orrantia had concealed two

clear bags inside her body which contained 87.9 grams of methamphetamine. Id.

       A grand jury indicted Orrantia for conspiring to import methamphetamine (Count One),

importing methamphetamine (Count Two), conspiring to possess methamphetamine (Count




1
 “ECF No.” refers to the Electronic Case Filing number for documents docketed in EP-19-CR-
2181-DCG-2. Where a discrepancy exists between page numbers on filed documents and page
numbers assigned by the ECF system, the Court will use the latter page numbers.
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Three), and possessing with the intent to distribute methamphetamine (Count Four). Indictment,

ECF No. 19.

       Orrantia’s counsel negotiated a plea agreement with the Government. Plea Agreement,

ECF No. 43. Under its terms, Orrantia agreed to plead guilty to Count One, which specifically

charged her with conspiring to import more than 50 grams of methamphetamine, a Schedule II

Controlled Substance, in violation of 21 U.S.C. §§ 963, 952(a), 960(a)(1), and 960(b)(1). Id. at

1–2. She also acknowledged the punishment range under § 960(b)(1) was ten years to life in

prison, relinquished her right to additional discovery, and waived her right to appeal or

collaterally attack her sentence except under limited circumstances. Id. at 2, 4, 5. In exchange,

the Government agreed to dismiss Counts Two, Three, and Four. Id. at 1.

       A probation officer prepared a presentence investigation report (PSR) for Orrantia’s

sentencing. PSR, ECF No. 63. She noted “[a] chemical analysis report provided by the U.S.

Drug Enforcement Agency revealed . . . the 68.89 grams hidden in Orrantia’s body had a purity

level of 98%.” Id. at ¶ 10. She established Orrantia’s base offense level at 30 because she

attributed at least 50 grams of actual methamphetamine to Orrantia. Id. at ¶ 19 (citing

Sentencing Guidelines §§ 2D1.1(a)(5)). She deducted three levels based on Orrantia’s

acceptance of responsibility. Id. at ¶¶ 26, 27. She determined, “[b]ased upon a total offense

level of 27 and a criminal history category of III, [Orrantia’s] guideline imprisonment range

[was] 87 months to 108 months.” Id. at ¶ 67. But she observed “the statutorily required

minimum sentence of 10 years is greater than the maximum of the applicable guideline range;

therefore, the guideline term of imprisonment is 120 months.” Id. (citing Sentencing Guidelines

§ 5G1.1(b)).

       Orrantia’s counsel did not object to the PSR. Id., Addendum, ECF No. 63-2.



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       The Court adopted the PSR—which contained Orrantia’s correctly-calculated sentencing

range—without change. Statement of Reasons, ECF No. 67. It sentenced Orrantia to the

mandatory-minimum sentence of 120 months’ incarceration. J. Crim. Case 2, ECF No. 66. It

also provided Orrantia with a notice of her right to appeal, which she acknowledged with her

signature. Notice to Def. of Right to Appeal, ECF No. 64.

       Orrantia did not appeal.

       Orrantia now asserts in her § 2255 motion that her counsel provided constitutionally

ineffective assistance. Mot. to Vacate 4–9, ECF No. 77. Specifically, she claims her counsel

failed to (1) show her the PSI until 72 hours before her sentencing, (2) object to the base level of

30, (3) ensure the methamphetamine was tested to determine its purity, and (4) file a notice of

appeal. Id. She “asks the Court to reduce her sentence.” Id. at 12.

                                       APPLICABLE LAW

       A § 2255 motion “ ‘provides the primary means of collateral attack on a federal

sentence.’ ” Pack v. Yusuff, 218 F.3d 448, 451 (5th Cir. 2000) (quoting Cox v. Warden, 911 F.2d

1111, 1113 (5th Cir. 1990)). Relief under § 2255 is warranted for errors that occurred at trial or

at sentencing. Solsona v. Warden, F.C.I., 821 F.2d 1129, 1131 (5th Cir. 1987). Before a court

will grant relief, however, the movant must establish that (1) the “sentence was imposed in

violation of the Constitution or laws of the United States, (2) the sentencing court was without

jurisdiction to impose the sentence, (3) the sentence was in excess of the maximum authorized by

law, or (4) the sentence is otherwise subject to collateral attack.” United States v. Seyfert, 67

F.3d 544, 546 (5th Cir. 1995) (citations omitted). Ultimately, the movant bears the burden of

establishing her claims of error by a preponderance of the evidence. Wright v. United States, 624

F.2d 557, 558 (5th Cir. 1980) (citing United States v. Kastenbaum, 613 F.2d 86, 89 (5th Cir.



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1980)). “If it plainly appears from the motion . . . and the record of prior proceedings that the

moving party is not entitled to relief, the judge must dismiss the motion . . .” 28 U.S.C. foll. §

2255 Rule 4(b); see also 28 U.S.C. § 2255(b); United States v. Drummond, 910 F.2d 284, 285

(5th Cir. 1990) (“Faced squarely with the question, we now confirm that § 2255 requires only

conclusive evidence—and not necessarily direct evidence—that a defendant is entitled to no

relief under § 2255 before the district court can deny the motion without a hearing.”).

       Generally, an ineffective-assistance-of-counsel claim presented in a § 2255 motion is

analyzed under the two-pronged test set forth in Strickland v. Washington, 466 U.S. 668 (1984).

United States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001). To prevail, a movant must show (1)

that his counsel’s performance was deficient in that it fell below an objective standard of

reasonableness; and (2) that the deficient performance prejudiced the defense. Strickland, 466

U.S. at 689B94. “[C]ounsel’s assistance is deficient if it falls ‘below an objective standard of

reasonableness.’” United States v. Conley, 349 F.3d 837, 841 (5th Cir. 2003) (quoting

Strickland, 466 U.S. at 688).   This means that a movant must show that counsel’s performance

was outside the broad range of what is considered reasonable assistance and that this deficient

performance led to an unfair and unreliable conviction and sentence. United States v. Dovalina,

262 F.3d 472, 474B75 (5th Cir. 2001). “[T]o prove prejudice, ‘the defendant must show ‘that

there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.’” Id. (quoting United States v. Bass, 310 F.3d 321, 325

(5th Cir. 2002). If the movant fails to prove one prong, it is not necessary to analyze the other.

See Armstead v. Scott, 37 F.3d 202, 210 (5th Cir.1994) (“A court need not address both

components of the inquiry if the defendant makes an insufficient showing on one”); Carter v.




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Johnson, 131 F.3d 452, 463 (5th Cir.1997) (“Failure to prove either deficient performance or

actual prejudice is fatal to an ineffective assistance claim.”).

       In cases involving counsel’s performance at the sentencing stage, the Supreme Court and

the Fifth Circuit have emphasized that Strickland prejudice exists whenever there is a reasonable

probability that, but for counsel’s errors, the defendant’s term of actual imprisonment would

have differed in “any amount.” Id., at 842 (quoting Glover v. United States, 531 U.S. 198, 203

(2001)).

                                             ANALYSIS

       A. Methamphetamine Purity

       Orrantia claims her counsel provided ineffective assistance when he did not ask for a test

to determine the purity of the methamphetamine found in her body on June 12, 2019. Mot. to

Vacate 6, ECF No. 77.

       The record establishes such a request was unnecessary. It shows “[a] chemical analysis

report provided by the U.S. Drug Enforcement Agency revealed . . . the 68.89 grams hidden in

Orrantia’s body had a purity level of 98%.” PSR ¶ 10, ECF No. 63. As a result, Orrantia cannot

meet her burden of showing that her counsel’s performance was either deficient or that the

deficient performance prejudiced her defense. Strickland, 466 U.S. at 689–94.

       B. Base Offense Level

       Orrantia maintains her counsel provided ineffective assistance when he failed to object to

her base level of 30 in the PSR. Mot. to Vacate 5, ECF No. 77. She believes she was entitled to

a base offense level of 24. Id.

       By signing the plea agreement, Orrantia agreed that “the facts set out in the attached

factual basis as alleged by the Government are true and correct.” Plea Agreement 6, ECF No.



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43. In the synopsis of the facts, Orrantia admitted that she had concealed in her body two plastic

bags containing a controlled substance with a gross weight of “approximately 87.9 grams.” Id. at

9. “A chemical analysis report provided by the U.S. Drug Enforcement Agency revealed . . . the

68.89 grams hidden in Orrantia’s body had a purity level of 98%.” PSR ¶ 10, ECF No. 63.

According to Sentencing Guideline § 2D1.1(a), the offense level for importing

methamphetamine is “specified in the Drug Quantity Table set forth in subsection (c).” U.S.

SENTENCING GUIDELINES MANUAL § 2D1.1(a) (U.S. SENTENCING COMM’N 2018). Subsection (c)

provides the base offense level for an offense involving at least 50 grams of actual

methamphetamine is 30. Id. § 2D1.1(c)(5). Hence, Orrantia cannot show the probation officer

erred when she determined the base offense level in her case.

       Consequently, any objection by Orrantia’s counsel to the base offense level would have

been unavailing. “ ‘[C]ounsel is not required to make futile motions or objections.’ ” Johnson

v. Cockrell, 306 F.3d 249, 255 (5th Cir. 2002) (quoting Koch v. Puckett, 907 F.2d 524, 527 (5th

Cir. 1990)), see also Green v. Johnson, 160 F.3d 1029, 1037–1042 (5th Cir. 1998) (“Mere

conclusory allegations in support of a claim of ineffective assistance of counsel are insufficient

to raise a constitutional issue” and “counsel is not required to file frivolous motions or make

frivolous objections”). Under these circumstances, Orrantia cannot meet her burden of showing

that her counsel’s performance was either deficient—in that it fell below an objective standard of

reasonableness—or that the deficient performance prejudiced her defense. Strickland, 466 U.S.

at 689–94.

       C. Presentence Investigation Report

       Orrantia also asserts her counsel provided constitutionally ineffective assistance when he

failed to show her the PSI until “72 hours prior to sentencing which did not allow [her] to object



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to any of the contents.” Mot. to Vacate 4, ECF No. 77. Notably, she does not identify any

objections she may have had to the PSI before her sentencing.

        “The probation officer must give the presentence report to the defendant, the defendant’s

attorney, and an attorney for the government at least 35 days before sentencing unless the

defendant waives this minimum period.” Fed. R. Crim. P. 32(e)(2). Assuming that Orrantia’s

counsel was deficient in not providing her a copy of the PSR within the timeline prescribed by

Rule 32, Orrantia has not shown that she was prejudiced by her counsel’s performance, as she

has not identified any objections. Strickland, 466 U.S. at 687. Indeed, there is nothing in the

record to indicate that Orrantia would have received a lesser sentence had her counsel objected to

the PSR based on either the calculation of her base offense level—which was correct—or the

failure of her counsel to ask for a purity test. She is not entitled to relief on this claim.

        D. Consultation on Appeal

        Finally, Orrantia maintains that she “was not made aware that [she] could file” a notice of

appeal. Mot. to Vacate 8, ECF No. 77. She argues that her counsel provided ineffective

assistance when he failed to explain her appellate rights to her. Id.

        The Court observes that Orrantia acknowledged the following notice of her right to

appeal at the time of her sentencing:

                COURT’S NOTICE TO DEFENDANT OF RIGHT TO APPEAL

        You have a right to appeal:
              Your conviction if you pleaded not guilty and were convicted.
              Your sentence, regardless of your plea.

        If you so request, the clerk will immediately prepare and file a notice of appeal on
        your behalf.

        The requirements for timely filing a sufficient notice of appeal are that:




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               (1) You file with the District Clerk a document entitled “Notice of Appeal”
               which shows you intend to appeal to the Fifth Circuit Court of Appeals from
               the judgment of this court, and
               (2) You file the “Notice of Appeal” within 14 days after the entry of the
               judgment or order appealed from or the government’s notice of appeal.
               (3) If you are unable to pay for the cost of the appeal, you have the right,
               within this 14 day period, to ask for permission to appeal in forma pauperis,
               that is, without paying any court costs or filing fees.

       I, the undersigned defendant, acknowledge that I was orally advised of my right to
       appeal, the requirements for timely filing a sufficient notice of appeal, my right to
       have the clerk prepare and file a notice of appeal for me and my right to appeal in
       forma pauperis. I further acknowledge receipt of a copy of this document on
       the date indicated below.

               1/9/2020                               /s/ Veronica Yvette Orrantia

      SIGNED AND ENTERED this the 9th day of January, 2020.

                                                      /s/
                                              DAVID C GUADERRAMA
                                              UNITED STATES DISTRICT JUDGE


Notice to Def. of Right to Appeal, ECF No. 64. Representations made by a defendant at a plea

hearing constitute a formidable barrier to any subsequent collateral attack. Blackledge v. Allison,

97 S. Ct. 1621, 1629 (1977). Hence, the record shows Orrantia was in fact advised of—and

acknowledged—her right to appeal.

       An attorney’s failure to file a notice of appeal when requested by the client is, of course,

“professionally unreasonable.” Roe v. Flores–Ortega, 528 U.S. 470, 477 (2000). But Orrantia

does not suggest that she asked her counsel failed to file a requested notice of appeal.

       When a defendant does not express her wishes regarding an appeal to her counsel, the

preliminary inquiry is “whether counsel in fact consulted with the defendant about an appeal.”

Id. at 478. Consulting in this context means “advising the defendant about the advantages and

disadvantages of taking an appeal and making a reasonable effort to discover the defendant’s



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wishes.” Id. If counsel consults with the defendant in this manner, then counsel acts in a

“professionally unreasonable manner only by failing to follow the defendant’s express

instructions with respect to an appeal.” Id. If counsel does not consult with the defendant

concerning an appeal, the inquiry becomes “whether counsel’s failure to consult with the

defendant itself constitutes deficient performance.” Id.

       The Court notes “counsel has a constitutionally imposed duty to consult with the

defendant about an appeal when there is reason to think either (1) that a rational defendant would

want to appeal (for example, because there are nonfrivolous grounds for appeal), or (2) that this

particular defendant reasonably demonstrated to counsel that [s]he was interested in appealing.”

Id. at 480. In determining whether counsel has met this duty, a court must consider “all the

information counsel knew or should have known.” Id. A “highly relevant factor” is whether the

conviction follows a guilty plea “because a guilty plea reduces the scope of potentially

appealable issues and because such a plea may indicate that the defendant seeks an end to

judicial proceedings.” Id. Even in guilty-plea cases, however, “the court must consider . . .

whether the defendant received the sentence bargained for as part of the plea, and whether the

plea expressly reserved or waived some or all appeal rights.” Id.

        Orrantia agreed to plead guilty and waived her right to appeal her conviction and

sentence on almost all grounds before the Court reminded her at her sentencing that she could

still appeal. Plea Agreement 4–5, ECF No. 43; Notice to Def. of Right to Appeal, ECF No. 64.

Orrantia retained only the right to appeal any punishment in excess of the statutory maximum

and the right to challenge her “sentence or conviction based on ineffective assistance of counsel

or prosecutorial misconduct of constitutional dimension.” Plea Agreement 4. While Orrantia’s

plea agreement did not specify a sentence, it advised her that her statutory punishment range was



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ten years to life in prison. Id. at 2. She was ultimately sentenced to the statutory minimum

sentence of 120 months’ imprisonment. J. Crim. Case 2, ECF No. 66.

       There are no apparent nonfrivolous appealable issues regarding the areas where Orrantia

retained her appellate rights. There is no reason for her counsel to believe that a rational

defendant would want to appeal under these circumstances. Any failure on the part of counsel to

consult with Orrantia about an appeal did not constitute deficient performance. As a result,

Orrantia cannot met her burden of showing her counsel provided constitutionally ineffective

assistance.

                                   EVIDENTIARY HEARING

       A motion brought pursuant to § 2255 may be denied without a hearing if the motion,

files, and records of the case conclusively show that the defendant is not entitled to relief. See

United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992) (per curiam) (holding that there

was no abuse of discretion in denying a § 2255 motion without a hearing where the movant’s

assertions of ineffective assistance were wholly conclusory in nature and refuted by reference to

the record itself). The record in this case is adequate to dispose fully and fairly of Orrantia’s

claims. The Court need inquire no further on collateral review and an evidentiary hearing is not

necessary.

                            CERTIFICATE OF APPEALABILITY

       A petitioner may not appeal a final order in a habeas corpus proceeding “[u]nless a circuit

justice or judge issues a certificate of appealability.” 28 U.S.C. § 2253(c)(1)(B). “A certificate

of appealability may issue . . . only if the applicant has made a substantial showing of the denial

of a constitutional right.” Id. § 2253(c)(2). Here, Orrantia’s motion fails because she has not

identified a transgression of her constitutional rights. Accordingly, the Court finds that it should



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not grant Orrantia a certificate of appealability. See 28 U.S.C. foll. § 2255 R. 11(a) (“The district

court must issue or deny a certificate of appealability when it enters a final order adverse to the

applicant.”).

                                 CONCLUSION AND ORDERS

       The Court finds it plainly appears from Orrantia’s motion and the record of prior

proceedings that she cannot meet her burden of showing, by a preponderance of the evidence,

that her counsel provided constitutionally ineffective assistance. Moreover, she cannot show that

her sentence was imposed in violation of the Constitution or laws of the United States, the Court

was without jurisdiction to impose the sentence, the sentence was in excess of the maximum

authorized by law or her sentence is otherwise subject to collateral attack. The Court

accordingly concludes that it should deny her motion—and dismiss her civil cause without a

hearing—because she is not entitled to § 2255 relief. The Court further concludes that Orrantia

is not entitled to a certificate of appealability. The Court, therefore, enters the following orders:

       IT IS ORDERED that Orrantia’s “Motion under 28 U.S.C. § 2255 to Vacate, Set Aside

or Correct Sentence by a Person in Federal Custody” (ECF No. 77) is DENIED, and her civil

cause is DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that Orrantia is DENIED a CERTIFICATE OF

APPEALABILITY.

       IT IS FURTHER ORDERED that all pending motions are DENIED.

       IT IS FINALLY ORDERED that the District Clerk shall CLOSE this case.

       SIGNED this 15th day of September 2020.


                                               _________________________________
                                               DAVID C. GUADERRAMA
                                               UNITED STATES DISTRICT JUDGE

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